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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FRANK HOLLINGSWORTH            :
                               :
       v.                      :                  CIVIL ACTION NO. 19-2754
                               :
R. HOME PROPERTY               :
MANAGEMENT, LLC                :
doing business as              :
PARK VIEW AT OAK CREST, ET AL. :

______________________________________________________________________________

                                          ORDER

       This 27th day of October 2020, upon consideration of Defendants’ Motion for Summary

Judgment, ECF 33, it is hereby ORDERED that Defendants’ Motion for Summary Judgment is

GRANTED. The Clerk is requested to mark this case closed for statistical purposes.



                                                          /s/ Gerald Austin McHugh
                                                         United States District Judge
